         Case 4:23-po-05107-JTJ Document 7 Filed 10/17/23 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                 4:23-PO-05107-JTJ

             Plaintiff,                    VIOLATIONS:
                                           E1728295
       vs.                                 E1728296
                                           Location Code: M13
 TIMOTHY J. RING,
                                           ORDER
             Defendant.


      Based upon the United States’ motion to accept the defendant’s payment of

a $75 fine and $30 processing fee for violation E1728295 (for a total of $105), and

for good cause shown, IT IS ORDERED that the $105 fine paid by the defendant

is accepted as a full adjudication of violation E1728295.

      IT IS ALSO ORDERED that violation E1728296 is DISMISSED.

      IT IS FURTHER ORDERED that the initial appearance scheduled for

October 19, 2023, is VACATED.

      DATED this 17th day of October, 2023.
